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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

UNITED STATES OF AMERICA

VS.                                  4:18-CR-00508-01-JM

SHABAZZ MUHAMMAD

                                              ORDER

       For the reasons set out below, Defendant’s Second Motion for Compassionate Release

(Doc. No. 36) is DENIED.

       One of the reasons the previous request was denied was because Defendant had not

exhausted his administrative remedies. Now he asserts that he requested compassionate release

on September 2, 2020 and has received no response. Accordingly this Court has jurisdiction.

       Again, Defendant alleges that he has diabetes and hypertension, which put him at higher

risk of suffering serious illness if he were to contract COVID-19. First, diabetes and

hypertension are not “extraordinary and compelling” reasons to support his release. Although

the First Step Act did not define this phrase, it defers to the United States Sentencing Guidelines,

which does set out examples.1 Diabetes and hypertension are not listed. In fact, Defendant’s




       1
         Of course, this list predates the COVID-19 outbreak. U.S.S.G § 1B1.13 cmt. n. 1. The
examples are: (1) the defendant’s medical condition is such that he suffers from a “terminal
illness” or the condition “substantially diminishes the ability of the defendant to provide
self-care within the environment of a correctional facility and from which he or she is not
expected to recover”; (2) “[t]he defendant (i) is at least 65 years old; (ii) is experiencing a serious
deterioration in physical or mental health because of the aging process; and (iii) has served at
least 10 years or 75 percent of his or her term of imprisonment, whichever is less; (3) the
defendant’s family circumstances include either “(i) The death or incapacitation of the caregiver
of the defendant's minor child or minor children” or “(ii) The incapacitation of the defendant's
spouse or registered partner when the defendant would be the only available caregiver for the
spouse or registered partner.”

                                                  1
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health issues are common – there is nothing extraordinary and compelling about them.2

Although Defendant has provided medical records, they do not support a finding that his medical

conditions cannot not be controlled with medication or that he is unable to function

independently in prison. Second, “fear of contracting COVID-19 or of experiencing more

intense symptoms than the average person are not extraordinary or compelling enough reasons

for release.”3 Third, Defendant is 49 years old and has served less than 15% of his sentence,

which means he does not meet the age and minimum served-time requirement under the

Guidelines.

       Even if Defendant could establish extraordinary and compelling reasons, his request for

relief must be denied because of the § 3553(a) factors – specifically, protecting the public from

additional crimes by Defendant and reflecting the severity of the offense.

       Since age 21, Defendant has 25 convictions, which include over ten for thefts, robbery,

domestic battery, forgery, aggravated assault, possession of cocaine, and shoplifting. In fact,

Defendant committed the instant offense while on parole for a prior conviction. Defendant also

has a long history of cocaine abuse, and before his arrest was using daily.

       The severity of the instant offense must also be considered. Defendant was a suspect in

an aggravated robbery. When he was pulled-over he refused officer’s commands and repeatedly

reached in the back of the vehicle in a suspicious manner. Once Defendant finally exited the

vehicle, officers located a Hi-Point .45 caliber handgun with a round in the chamber and an


       2
         United States v. Mitchell, No. 5:10-CR-50067-001, 2020 WL 544703, at *3 (W.D. Ark.
Feb. 3, 2020)(“The medical conditions about which Mr. Mitchell complains are arguably due to
the aging process, but the Court is not convinced that ordinary geriatric ailments, including back
pain, rise to the level of ‘extraordinary and compelling reasons’ that are required to grant
compassionate release under 18 U.S.C. § 3582(c)(1)(A)(I).”).
       3
        United States v. Osborne, No. 4:05-CR-00109-BSM-12, 2020 WL 3258609, at *2 (E.D.
Ark. June 16, 2020).

                                                 2
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extended magazine holding fourteen rounds. The victim of the aggravated robbery did not want

to press charges.

                                      CONCLUSION

       For the reasons stated, Defendant’s Motion for Compassionate Release (Doc. No. 36) is

DENIED.

       IT IS SO ORDERED, this 9th day of November, 2020.


                                                  UNITED STATES DISTRICT JUDGE




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